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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                    1:24mj03324 Goodman
                           CASE NO. ________________________
                                                                                         KAN

 IN RE SEALED COMPLAINT                                                           Jul 1, 2024
 ___________________________________/

                                 CRIMINAL COVER SHEET

    1. Did this matter originate from a matter pending in the Northern Region of the United States
       Attorney=s Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)? No

    2. Did this matter originate from a matter pending in the Central Region of the United States
       Attorney=s Office prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? No

    3. Did this matter involve the participation of or consultation with now Magistrate Judge
       Eduardo I. Sanchez during his tenure at the U.S. Attorney’s Office, which concluded on
       January 22, 2023? No

    4. Did this matter involve the participation of or consultation now Magistrate Judge Marty
       Fulgueira Elfenbein during her tenure at the U.S. Attorney’s Office, which concluded on
       March 5, 2024? No



                                                    Respectfully submitted,

                                                    MARKENZY LAPOINTE
                                                    UNITED STATES ATTORNEY


                                             By:
                                                    ABBIE D.D WAXMAN
                                                    Assistant United States Attorney
                                                    Florida Bar No.: 109315
                                                    99 N.E. 4th Street, 5th Floor
                                                    Miami, Florida 33132
                                                    (305) 961-9240
                                                    Abbie.Waxman@usdoj.gov
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                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                    Southern District
                                                  __________ Districtof
                                                                      ofFlorida
                                                                        __________

                  United States of America                              )
                             v.                                         )
                                                                        )     Case No. 1:24mj03324 Goodman
                      Clementa Johnson                                  )
                                                                        )
                                                                        )
                            Defendant.


          CRIMINAL COMPLAINT%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               on or about June 21-23, 2024         in the county of            Miami-Dade          in the
     Southern          District of             Florida             , the defendant(s) violated:

             Code Section                                                        Offense Description
 18 U.S.C. § 2261A                                Stalking

 18 U.S.C. § 924(c)(1)(A)                         Use of a Firearm in furtherance of a crime of violence




          This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT.




          ✔ Continued on the attached sheet.
          u



                                                                                                  Complainant’s signature

                                                                                         Conor Goepel, Special Agent, FBI
                                                                                                   Printed name and title


                                                                                          Face Time
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Date: 7/1/24
                                                                                                     Judge’s signature

City and state:                          Miami, Florida                         Hon. Jonathan Goodman, United States Magistrate Judge
                                                                                                Printed name and title
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                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
        Your Affiant, Conor S. Goepel, being duly sworn, deposes and states as follows:
                         INTRODUCTION AND AGENT BACKGROUND

        1.         I am a Special Agent for the Federal Bureau of Investigation (“FBI”) currently

 assigned to the Violent Crimes/Fugitive Task Force in the Miami Division. I have been an FBI

 Special Agent since September 2021 and have been assigned to the Miami Division since February

 2022. I am an investigative or law enforcement officer of the United States within the meaning of

 Title 18, United States Code, Section 2510(7), in that I am empowered by law to conduct

 investigations of, and to make arrests for, federal offenses. As a Special Agent for the FBI, my

 duties involve the investigation of a variety of violations of federal offenses, including, but not

 limited to, bank robberies, Hobbs Act robberies, extortion, and murder for hire.

        2.         I am currently a member of the South Florida Violent Crime Task Force. As part

 of my professional duties and responsibilities, I have become familiar with the investigative

 methods and enforcement of violent crimes pertaining to state and federal laws. I have also

 become versed in methodologies and practices employed by individuals and groups who commit

 violent crimes.

        3.         The facts contained in this Affidavit are based on my personal knowledge and

 information provided to me by other law enforcement officers. This Affidavit is being submitted

 for the limited purpose of establishing probable cause for the proposed complaint, and as such does

 not contain every fact known to me. I respectfully submit that based upon the facts presented

 below, that there is probable cause to believe that Clementa JOHNSON Jr., with a date of birth of

 December 12, 1976, committed the offenses of stalking, in violation of Title 18, United States

 Code, Sections 2261A and 2; and use of a firearm in furtherance of a crime of violence, in violation

 of Title 18, United States Code, Section 924(c) and 2.


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                                      PROBABLE CAUSE

                                           Background

        4.     Since July of 2022, several law enforcement agencies have been assisting in the

 investigation of a series of events that targeted VICTIM 1, a resident of Miami-Dade County, and

 her sister VICTIM 2. These events include an apparent poisoning, two separate vehicle arsons at

 VICTIM 2’s residence in Miami, a hit and run at VICTIM 1’s residence in Pinecrest, Florida

 (hereinafter, “VICTIM 1’s Residence”), and the mailing of a threatening letter to VICTIM 1 all

 occurring between as early as 2019 and through on or about September 26, 2023.

        5.     Specifically, as to the hit and run that occurred at VICTIM 1’s Residence on August

 30, 2023, law enforcement responded after a Home Depot rental truck rammed into the side of a

 vehicle operated by VICTIM 1 and then fled the scene. The incident was captured on VICTIM 1’s

 home video surveillance system. The investigation revealed that the Home Depot truck was rented

 at the Coconut Grove Home Depot in Miami-Dade County, where Edner ETIENNE exited a truck

 registered to Michael DULFO and drove the Home Depot truck out of the parking lot. License

 plate reader (LPR) data revealed that DULFO’s truck followed VICTIM 1’s vehicle as she left

 downtown Miami from a court hearing involving her divorce proceeding from her estranged

 husband.

        6.     In addition to DULFO and ETIENNE, the investigation revealed that DULFO was

 communicating with Jerren HOWARD and Bayron BENNETT. BENNETT, DULFO, HOWARD,

 and ETIENNE were originally charged by complaint, Case Numbers 24-mj-02454-LMR and 24-

 mj-02460-LMR, and later indicted for Stalking, Arson, and Use of an Interstate Facility in Aid of

 Racketeering, in Case Number 24- CR-20110-GAYLES.




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                              The Assault with a Firearm: June 23, 2024

        7.      On June 23, 2024, at approximately 8:45 am, VICTIM 1, departed her residence in

 her vehicle. At approximately 11:30 am, VICTIM 1 returned to her residence and momentarily

 idled in her driveway while she waited for the gate on the west side of the house to open. As

 VICTIM 1 began to pull into the driveway, she observed a black male individual (“SUBJECT 1”),

 brandishing a firearm and running toward her vehicle. In fear for her safety, and in an attempt to

 get away, VICTIM 1 drove into her backyard, scraping the sides of her car between a tree and a

 fence. VICTIM 1 continuously engaged the horn of her car as she attempted to get away.

 SUBJECT 1 pursued her vehicle by foot and ran into the backyard before he turned around and

 ran back toward the front.

        8.      During this time, VICTIM 1’s daughter, VICTIM 3, was inside VICTIM 1’s

 Residence when she heard a loud crash and a vehicle honking. VICTIM 3 exited the west door of

 VICTIM 1’s Residence and ran toward the front of the house. As she reached the open gate,

 VICTIM 3 noticed a black pickup truck parked on the street. SUBJECT 1, coming from the back

 of the house, ran up behind VICTIM 3 and pointed a firearm at VICTIM 3’s head. Upon SUBJECT

 1’s approach, VICTIM 3 turned around and saw SUBJECT 1 as he pointed a silver pistol inches

 from her face. SUBJECT 1 grabbed VICTIM 3’s arm and told her to go back into the house.

 VICTIM 3 then ran back toward the exit she came from.

        9.      SUBJECT 1 ran across the front yard of VICTIM 1’s Residence toward the east

 side of the property. Moments later, SUBJECT 1 turned back, ran across the yard, and entered the

 back passenger side of a black Dodge Ram pickup truck (“Dodge Ram”). The Dodge Ram then

 rapidly departed the vicinity reasonably indicating an additional individual, SUBJECT 2, acting as

 the getaway driver.



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        10.    VICTIM 1’s Residence is equipped with surveillance cameras affixed around the

 property that captured the incident. The footage showed VICTIM 1 as she arrived at her residence

 and waited for the gate to open. Footage of the Dodge Ram is captured as it arrived and stopped

 on the street next to VICTIM 1’s Residence. SUBJECT 1, wearing a light-colored t-shirt, shorts,

 yellow-colored boots, a beanie, and a face covering, exited the Dodge Ram’s back passenger side

 and ran up to VICTIM 1. SUBJECT 1 could be seen holding what appeared to be a firearm in his

 right hand. Surveillance footage captured VICTIM 1 drive her vehicle toward the backyard, and

 SUBJECT 1 pursued her on foot. Footage also captured VICTIM 3 as she exited the residence and

 SUBJECT 1 approached her from behind and pointed a firearm at her head. Surveillance footage

 also captured SUBJECT 1 grab VICTIM 3 by the arm.

        11.    A video canvass of the neighborhood revealed that on June 23, 2024, at

 approximately 8:46 am, the Dodge Ram arrived and parked on the north side of SW 96 Street,

 approximately one block east of VICTIM 1's Residence. The Dodge Ram followed closely behind

 a white Tesla (the “Tesla”). The Tesla continued west on SW 96th Street, passing VICTIM 1's

 Residence. Less than two minutes later, the Tesla traveled east on SW 96th Street, passing VICTIM

 1’s Residence again. The Tesla continued east, passing the Dodge Ram, which then immediately

 departed and followed closely behind the white Tesla as they both turned north on SW 67th

 Avenue. At approximately 8:56 am, the Dodge Ram returned to the same spot it had previously

 parked and did not depart until approximately 11:30 am, when VICTIM 1 returned to her

 residence.

        12.    In my training and experience, it is common for criminals to use multiple cars to

 commit crimes. In this case, the close proximity of the white Tesla to the Dodge Ram over time,




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 distance, and change of direction indicates a direct relationship between the Dodge Ram occupants

 and the white Tesla occupant(s).

                             Identification and Movement of Vehicles

         13.    A further analysis of surveillance video obtained from the vicinity of VICTIM 1’s

 Residence of the white Tesla revealed Florida license plate DI0RI affixed to the rear of the vehicle.

 This plate is registered to Diori BARNARD. A database search showed BARNARD’s registered

 residential address to be located at 2427 NW 131 Circle, Miami, Florida. BARNARD is currently

 charged by criminal complaint with violations of federal law including, possession of more than

 50 grams of methamphetamine and a detectable amount of cocaine, possession of a firearm in

 furtherance of a drug trafficking crime, and felon in possession of a firearm. See 24-mj-03234-

 Reid.

         14.    On June 24, 2024, surveillance was conducted at BARNARD’s residence. Parked

 outside was a white Chevrolet Tahoe, bearing Florida license plate BN50WL. A Florida driver and

 vehicle identification database query revealed the Tahoe is registered to BARNARD. Upon

 reviewing LPR reader images, on May 3, 2024, an LPR reader collected an image of BARNARD’s

 residence that captured the white Tahoe next to a black Dodge Ram with chrome bumpers, similar

 in description to the Dodge Ram seen around VICTIM 1’s Residence on June 23, 2024. In this

 image, an after-market LED light is visible on the Dodge Ram’s front bumper.

         15.    The afternoon of June 24, 2024, FBI surveillance recovered the Dodge Ram, with

 Florida license plate BP16UV, abandoned in the vicinity of SW 70th Avenue and SW 80th Street

 nearby VICTIM 1’s Residence. Law enforcement observed an after-market LED light affixed to

 the Dodge Ram’s front bumper, in the same place as the one seen on the Dodge Ram at

 BARNARD’s residence. The VIN associated with the Dodge Ram, 1C6RREBG1MN533057, is



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 reported stolen. Based on my training and experience, perpetrators of violent crimes often use a

 stolen vehicle to commit the crime, and an additional vehicle, in this case the white Tesla, to

 attempt to avoid detection and escape the scene of the crime.

        16.     Law enforcement queried for stolen vehicles and received an Orange County

 Sheriff’s Department (FL) report stating that the Dodge Ram was stolen in the vicinity of Orlando,

 FL, in the early morning hours of March 31, 2024. Also contained in that report, S.H., the owner

 of the Dodge Ram, stated the vehicle can be differentiated from similar models, by an LED strobe

 light affixed to the front bumper.

        17.     Florida License Plate BP16UV, also reported stolen, is associated with a 2013

 orange Toyota Corolla 1. Law enforcement located and interviewed, A.O., the owner associated

 with Florida tag BP16UV. Upon locating A.O., his vehicle, a blue Dodge Ram, was parked in the

 lot with Florida license plate 85BMPA affixed to the rear. A.O. acknowledged the current plate on

 his truck was not his and he had no knowledge of how that plate got on his vehicle. A.O. told law

 enforcement that he had recently visited a Walmart. Law enforcement photographed and seized

 the plate for processing. In my training and experience, perpetrators of crimes involving vehicles

 will try to avoid detection by using stolen vehicles and switching the license plate affixed to a

 vehicle used for criminal purposes to conceal the vehicle’s identity.

        18.     An LPR review of Florida plate 85BMPA revealed that on June 19, 2024, at 8:41

 pm, A.O.’s blue Dodge Ram was parked at a Walmart in Miami, Florida. An LPR review also

 documented a Mazda C-30, parked in the same Walmart at 8:42 pm. A review of the Walmart

 surveillance footage showed the white Tesla driving with the Mazda C-30 and pulling up to the



 1
  It should be noted that during the interview of the owners of the blue Dodge Ram and orange
 Toyota Corolla, it was discovered that they have two license plates (BP16UV and BP13UV) that
 were improperly affixed to their vehicles.
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 blue Dodge Ram. Based on the driving pattern, parking location, and time spent in the parking lot

 without entering the store, it is reasonable to believe that the occupants of the white Tesla and

 occupants of the Mazda C-30 worked together to steal a license plate off of a similar make, model,

 and color vehicle in order to place the mis-attributable license plate on the Dodge Ram.

           19.    On June 24, 2024, FBI located and seized the white Tesla with the license plate

 “DI0RI” affixed to the rear of the vehicle. A federal search warrant (24-mj-03231-Reid) was

 obtained, and on June 25, 2024, law enforcement extracted footage recorded by the Tesla’s

 onboard computer system, which included multiple cameras capturing exterior footage. Footage

 from June 8, 2024, revealed the white Tesla parked in the driveway of BARNARD’s residence.

 Parked next to the Tesla was a black Dodge Ram with chrome accents and black rims, matching

 the description of the Dodge Ram. The white Tesla footage showed JOHNSON as he was in and

 out of the passenger side of the Dodge Ram. Footage from June 20, 2024, at approximately 2:30

 pm, revealed JOHNSON entering the driver’s side and departing in a light-colored Mazda C-30.

                          Johnson’s Telephone Number and the Mazda C-30

           20.    As early as February 2024, and as recent as Friday, June 28, 2024, JOHNSON has

 been in contact with law enforcement using a cellular device assigned telephone number 448-207-

 5007 2. During these contacts, JOHNSON calls and messages on different days and different times

 of the day. JOHNSON has expressed that if law enforcement wishes to contact him, they should

 do so using the 448-207-5007 telephone number. Based on JOHNSON’s contact with law

 enforcement over the past several months using telephone number 448-207-5007, I believe he is

 the owner and user of the device.




 2
     A subpoena to the carrier requesting subscriber information is still pending.
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         21.      A query of Hard Rock casino gambling accounts revealed that JOHNSON has an

  active player account assigned to him. Included in JOHNSON’s player account information is

  telephone number 448-207-5007 as JOHNSON’s phone number. A further review of account

  activity and surveillance footage revealed JOHNSON arrived at the Hard Rock casino on June 21,

  2024, at 8:40 a.m. JOHNSON arrived alone in a light-colored Mazda C-30, bearing Florida license

  plate 95BKCV, “SUBJECT VEHICLE 2”. SUBJECT VEHICLE 2’s vehicle identification number

  (VIN) is 3MVDMBDM1RM648633 and is registered to P.V. Holding Corp, a car rental company.

  JOHNSON departed the casino as the driver and sole occupant of SUBJECT VEHICLE 2.

         22.     Records check at P.V. Holding Corp, revealed SUBJECT VEHICLE 2 was rented

  on June 14, 2024, to Diori BARNARD. This vehicle was scheduled to be returned on June 21,

  2024, but was not returned until June 28, 2024.

         23.     A review of LPR database checks for the Mazda C-30 license plate revealed its

  location on June 21, 2024, at 7:56:52 pm, in the vicinity of 6731 Killian Drive, Pinecrest, Florida.

  The Mazda C-30 was immediately behind the stolen Dodge Ram which hit the LPR at 7:56:57 pm.

  This location is approximately 1.3 miles south of VICTIM 1’s Residence.

         24.     Additional LPR records indicate that on June 22, 2024, SUBJECT VEHICLE 2 is

  recorded by the Monroe County Sheriff’s Office – Key Largo South LPR, located immediately

  over the Route 1 bridge onto Key Largo. In an interview with VICTIM 1, law enforcement learned

  that she was in Key Largo on the evening of June 22, 2024, with a reservation to stay at Bakers

  Cary Resort (“Resort”). On June 28, 2024, pursuant to a federal search warrant of the Dodge Ram

  (24-mj-03262-Reid) law enforcement searched the Dodge Ram and recovered a Resort valet pass




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  with an arrival date of June 22, 2024, and a departure date of June 26, 2024 3. Law enforcement

  reviewed security footage provided by the Resort and observed the Dodge Ram and BARNARD’s

  white Tahoe follow VICTIM 1 into the Resort’s parking area through the Resort’s front gate.

         25.     On June 28, 2024, pursuant to a federal search warrant (24-mj-03261-Reid), law

  enforcement obtained BARNARD’s historical cell site data from his provider. Upon review of

  these records, law enforcement learned that BARNARD called JOHNSON on the evening of June

  22, 2024, while in the vicinity of VICTIM 1’s Residence. On June 23, 2024, prior to driving the

  white Tesla to VICTIM 1’s Residence, BARNARD contacted JOHNSON. BARNARD again

  contacted JOHNSON upon the white Tesla and the Dodge Ram’s arrival outside VICTIM 1’s

  Residence. JOHNSON, BARNARD, and additional unidentified phone numbers 4 then appear to

  join a group phone call shortly thereafter while the Dodge Ram and the white Tesla are down the

  street from VICTIM 1’s Residence. I believe that the timing of this phone call in conjunction with

  the sequence of events as observed on residential surveillance footage indicates that the individuals

  inside the vehicles were coordinating their eventual attack on VICTIM 1.

         26.     Pursuant to a federal search warrant (24-mj-03291-Reid) for historical cell site data

  associated with the cellular device assigned telephone number 448-207-5007, law enforcement

  plotted relevant dates and times of interest (June 22 and 23, 2024) which revealed the cellular

  device was connecting to cell phone towers in the vicinity of VICTIM 1’s Residence, Calvary

  Chapel Miami, and the Resort.




  3
    During an interview with Resort employees, law enforcement learned that in order to obtain a
  Resort valet pass with an arrival and departure date one must have an existing reservation with the
  Resort. A subpoena for Resort records is pending, however, the hotel at first review was unable to
  find a reservation associated with the valet pass in question.
  4
    A subpoena is pending with the carrier to identify these numbers.
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         27.      On June 22, 2024, between approximately 7:55 p.m. and 8:50 p.m., cellular device

  assigned telephone number 448-207-5007 utilized cellphone towers in the vicinity of Homestead,

  Florida.     During this time there were six phone calls between 448-207-5007 and

  BARNARD. Between approximately 9:29 p.m. and 9:44 p.m., cellular device assigned telephone

  number 448-207-5007 utilized cellphone towers in the vicinity of the Resort in Key Largo,

  Florida. Upon arriving in the vicinity of the Resort, cellular device assigned telephone number

  448-207-5007 received a phone call from BARNARD.

         28.      On June 23, 2024, at approximately 6:43 a.m., 6:59 a.m., 7:35 a.m., and again at

  8:36 a.m. the cellular device connected to cellular towers in the vicinity of VICTIM 1’s Residence.

  Of these connections, four are telephone calls all of which are with BARNARD. At approximately

  8:58 a.m. cellular device assigned telephone number 448-207-5007, utilizes a cellular tower north

  of VICTIM 1’s Residence and then at approximately 9:10 a.m. it utilizes a cellular tower in the

  vicinity of Calvary Chapel Miami, a church where the victim was located that morning. Calvary

  Chapel Miami is more than 10 miles away from VICTIM 1’s Residence. Between 10:03 a.m. and

  10:30 a.m., while in the vicinity of Calvary Chapel Miami, the cellular device communicates with

  BARNARD. The cellular device remained in the area of Calvary Chapel Miami until

  approximately 10:45 a.m. which is consistent with VICTIM 1’s location. In my training and

  experience, it is common for individuals engaged in criminal activity involving multiple co-

  conspirators to use cellular devices to coordinate their criminal activity while mobile. Specifically,

  like in this case, where there are individuals in multiple vehicles, it is reasonable to believe that

  they are communicating with one another to coordinate their efforts using cellular devices.

  Based on the consistent pattern of telephonic communication, while in close proximity to one

  another, and VICTIM 1, it is reasonable to believe that BARNARD and JOHNSON spent June 21,



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  22, and 23 stalking VICTIM 1 in an effort to find an opportunity to commit a crime of violence

  with a firearm, as indicated by the events that took place outside VICTIM 1’s Residence on the

  morning of June 23, 2024.

                                          CONCLUSION

         29.     Based upon the foregoing, I submit that there is probable cause for the proposed

  complaint charging JOHNSON Jr. with the offenses of stalking, in violation of Title 18, United

  States Code, Sections 2261A and 2; and use of a firearm in furtherance of a crime of violence, in

  violation of Title 18, United States Code, Section 924(c) and 2.

         FURTEHR AFFIANT SAYETH NAUGHT.




                                               _________________________________
                                               CONOR GOEPEL
                                               SPECIAL AGENT
                                               FEDERAL BUREAU OF INVESTIGATION


  Attested to by the applicant in accordance with the requirements of Fed.R.Crim.P. 4.1
                      1st
  by Face Time this ______   day of July 2024.



  ____________________________________
  HONORABLE JONATHAN GOODMAN
  UNITED STATES MAGISTRATE JUDGE
  SOUTHERN DISTRICT OF FLORIDA




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